                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION - FLINT

IN THE MATTER OF:

KING PAR, LLC a/k/a KC                                                        Chapter 7
ACQUISITION COMPANY, LLC,                                                     Case No. 16-31984-DOF
                                                                              Hon. Daniel S. Opperman
         Debtor.
                                                   /


               STIPULATION FOR ENTRY OF ORDER CONCERNING CLAIM
                    NUMBER 42 FILED BY JPMORGAN CHASE BANK

         The Chapter 7 Trustee and JPMorgan Chase Bank, by their respective attorneys, hereby

stipulate to the form, substance, and entry of the attached Order Concerning Claim Number 42

Filed by JPMorgan Chase Bank.

Approved:

GOLD, LANGE & MAJOROS, P.C.                                      DICKINSON, WRIGHT, PLLC


/s/ Elias T. Majoros______________                               /s/ Allison R. Bach
ELIAS T. MAJOROS                                                 ALLISON R. BACH
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H:\GLM OTHER TRUSTEES\King Par, LLC (Sweet)\Claims\Claim 42 JPMorgan Chase Bank\Stipulaton for Entry of Order Concerning Claim
No. 42.pko.docx




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